Case 1:22-cv-02435-LLS-SN Document 6-3

The State Bar
of California

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OFFICE OF ATTORNEY REGULATION &
CONSUMER RESOURCES

180 Howard Street, San Francisco, CA 94105

Thomas Dorst

CSReeder, PC

11766 Wilshire Blvd., Suite 1470
Los Angeles, CA 90025

Re: State Bar Number 101195 — Mark D. Passin

To Whom it May Concern:

AttorneyRegulation@calbar.ca.gov
888-800-3400

March 14, 2022

In response to your recent request, enclosed please find the certificate(s} of standing for

the above-referenced individual.

Should you need further information, please do not hesitate to contact 1-888-800-3400

or AttorneyRegulation @calbar.ca.gov.

Sincerely,
Alex Calderon

Attorney Regulation & Consumer Resources
The State Bar of California

Enclosure(s):

1 Standard

Delivery Method: Regular Mail
PH: 3108612470
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The State Bar OFFICE OF ATTORNEY REGULATION &
O rf Cali fornia CONSUMER RESOURCES
180 Howard Street, San Francisco, CA 94105 AttorneyRegulation@calbar.ca.gov

888-800-3400

CERTIFICATE OF STANDING

March 14, 2022

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, MARK D. PASSIN,
#101195 was admitted to the practice of law in this state by the Supreme Court of
California on December 1, 1981 and has been since that date, and is at date hereof,
an ACTIVE licensee of the State Bar of California; and that no recommendation for
discipline for professional or other misconduct has ever been made by the Board of
Trustees or a Disciplinary Board to the Supreme Court of the State of California.

THE STATE BAR OF CALIFORNIA

Alex Calderon
Custodian of Records
